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                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

   REBOTIX REPAIR LLC,
                  Plaintiff,
   vs.                                      Case No.: 8:20-cv-02274


   INTUITIVE SURGICAL, INC.,

                   Defendant.


                               Notice of FDA decision
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        Rebotix submits this notice to the Court to advise the Court of the FDA’s

  recent communications with Rebotix.

        On April 8, 2022, the FDA had a teleconference with Rebotix to discuss

  Rebotix’s activities and sent Rebotix an email setting out its position. The email is

  attached as Exhibit A. The FDA informed Rebotix that it currently believes that

  Rebotix’s activities constitute remanufacturing. The FDA also mentioned on the call

  that it was preparing new guidelines to clarify the “murky” line between

  remanufacturing and repairs.

        The FDA explained that Rebotix’s options are to pursue FDA clearance or to

  provide objections so that the FDA can further consider the issue as it develops the

  new guidelines on remanufacturing.

        Rebotix has not yet determined which of these options it intends to pursue, but

  it will keep the Court informed of its decision.




   Date: April 11, 2022              Respectfully submitted,

                                       /s/ Alexander Erwig
                                       Alexander Erwig
                                       California Bar No. 334151 (pro hac vice)
                                       alexander@dovel.com
                                       DOVEL & LUNER, LLP
                                       201 Santa Monica Blvd., Suite 600
                                       Santa Monica, California 90401
                                       Telephone: (310) 656-7066
                                       COUNSEL FOR PLAINTIFF
                                       REBOTIX REPAIR LLC



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